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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:06CR169
                              )
          v.                  )
                              )
CINDY DECKER,                 )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 22).        The Court is advised that defendant

wishes to enter a plea in this matter.          Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Friday, September 1, 2006, at 11:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        The first available date on

the Court’s schedule for the plea hearing is September 1, 2006.

The ends of justice will be served by continuing this case and

outweigh the interests of the public and the defendant in a

speedy trial.   The additional time between July 24, 2006, and

September 1, 2006, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 18th day of July, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
